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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

UNITED STATES OF AMERICA,                )
                                         )
        Plaintiff,                       )
                                         )      INDICTMENT NO.:
        v.                               )
                                         )      1:16-cr-00065-ELR-CMS
NATHAN E. HARDWICK IV,                   )
                                         )
        Defendant.                       )

        DEFENDANT HARDWICK’S SENTENCING MEMORANDUM

        COMES NOW the Defendant, Nathan Hardwick, and files his Sentencing

Memorandum in connection with his upcoming sentencing scheduled for January 10,

2019.

        Pursuant to 18 U.S.C. §3553(a) and Booker v. United States, 543 U.S. 220

(2005), the Court must first calculate and consult the advisory Sentencing Guidelines

and then consider the factors from §3553(a). Mr. Hardwick will go over the

unresolved Guidelines issues first, and then show that this case is an outlier,

especially when compared with statistical analyses performed by the United States

Sentencing Commission on similar cases. Lastly, Mr. Hardwick will address

the §3553(a) factors that the Court must consider. Finally, a reasonable sentence,

after considering all of the necessary factors, is 96 months and Mr. Hardwick asks

that the Court sentence him to 96 months.




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      The Government, Probation and Mr. Hardwick all agree that the appropriate

guideline for the base level of the offense is 7, pursuant to U.S.S.G. §2Bl.l(a)(l).

However, the Defense makes several objections to the applied enhancements under

the Guidelines: loss amount (+ 20), criminal activity involving 5 or more victims or

was otherwise extensive (+ 4), and obstruction of justice (+ 2).

              I.    MR. HARDWICK’S GUIDELINE OBJECTIONS

      Mr. Hardwick objects to certain applied enhancements under the Guidelines as

follows.

           a. The Government Has Not Calculated the Appropriate Amount of
              Loss

      Section 2B1.1 is the applicable Guidelines provision for wire fraud, the

offenses on which the jury convicted Mr. Hardwick. See U.S.S.G. §2B1.1. That

section makes the “loss” the primary determinant of the offense level. See id. at

§2B1.l(b)(1); United States v. Olis, 429 F.3d 540, 545 (5th Cir. 2005) (“The most

significant determinant of [the defendant’s] sentence is the guidelines loss

calculation.”). The general rule is that the “loss” for purposes of the Guidelines

calculation “is the greater of the actual loss or intended loss.” U.S.S.G. § 2B1.1 cmt.

n.3(A). The Guidelines define “actual loss” as “the reasonably foreseeable pecuniary

harm that resulted from the offense.” Id. at §2B1.1 cmt. n.3(A)(i). “Reasonably

foreseeable pecuniary harm” is further defined as “pecuniary harm that the defendant

knew, or under the circumstances, reasonably should have known, was a potential



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result of the offense.” Id. at §2B1.1 cmt. n.3(A)(iv). The Guidelines and the case law

make clear that actual loss “incorporates [a] causation standard that, at a minimum,

requires factual causation (often called ‘but for’ causation) and provides a rule for

legal causation (i.e., guidance to courts regarding how to draw the line as to what

losses should be included and excluded from the loss determination).” See Olis, 429

F.3d at 545 (quoting U.S.S.G. Supp. 2 App. C, Amend. 617 (Nov. 1, 2001)). In a

case involving collateral pledged or otherwise provided by the defendant, the

Guidelines provide for a “credit against loss . . . in the amount the victim has

recovered at the time of sentencing from disposition of the collateral.” Id. at

§2B1.1 cmt. n.3(E)(ii). (E.g., in a mortgage fraud case involving a default on a home

loan, this “credit” equates to the proceeds of a foreclosure sale. U.S. v. Mallory, 709

F. Supp. 2d 455, 458-59 (E.D. Va. 2010)). The Government bears the burden of

establishing the amount of loss under section 2B1.1 by a preponderance of the

evidence.

      In the instant case, the Government has failed to prove an appropriate loss

amount for sentencing. It’s worth noting that the loss amount was not proved at trial.

In fact, AUSA Douglas Gilfillan made a point of stating during the trial that the

Government did not need to prove loss, although he conceded that it might be an

issue at sentencing. The Government appears to be depending on the amount of

money infused by Fidelity—$22 million—as the appropriate calculation for loss.

This number is wrong for several reasons.


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       First, while Fidelity may be able to show what money they transferred into

accounts at MHS, the Government has not demonstrated that the money was

transferred because of a loss caused by Mr. Hardwick. There has been no

identification of transfers into the accounts that were required exclusively because

of improper earlier transfers to Mr. Hardwick or on his behalf. In reality, there was

never a proper 3-way reconciliation done of the accounts to determine what amounts

were missing from what accounts and why. The law firm continued to use the trust

and operating accounts at issue, never zeroing out the accounts, or attempting to

reconcile them from the time that financial irregularities started. The trial record

reflects that funds were transferred among the various trust accounts, thus making a

complete reconciliation necessary to determine the amount and cause of any loss.

MHS used the wire account, SunTrust account 7328, for $41 million for payroll and

for wires for the benefit of the partners (not just Mr. Hardwick). Robert Driskell and

Asha Maurya moved tens of millions of dollars from various operating accounts into

SunTrust various accounts into various escrow accounts including account 7328.

The majority of the accounts existed prior to the time period alleged in the

Indictment and there were likely substantial losses inside those accounts that had

nothing to do with the criminal activity alleged against Mr. Hardwick. Moreover,

Ms. Maurya stole unidentified money from the escrow accounts beginning in 2009.

A final precise number with respect to the funds stolen by Ms. Maurya was never

determined. Accordingly, the $22 million number that the Government is using as


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the loss is meaningless if it is supposed to represent a loss that was the fault of Mr.

Hardwick.

      Second, Fidelity has produced a ledger showing transfers into accounts, but

provided no proof that those accounts had missing funds. There are multiple reasons

why an account may be short, including mistake, error, double batching, funding

issues, theft by others, bank fees, multiple payoffs and expenses. There has been no

accurate assessment made and produced of why the accounts were short at any given

time, or why or whether they needed to be funded, or whether the losses were

ultimately replaced by funds coming from somewhere other than Fidelity. There are

multiple occasions when Fidelity funded accounts purely for the purpose of pulling

out fees earned. Such “funding” was improper, as the fees had already been removed

and the account was already balanced. Indeed, there were even instances when the

accounts were over-funded.

       Third, it is misleading to say that Fidelity’s transfers constitute evidence of a

“loss” at all. Fidelity entered an investment deal to purchase the shares that Mr.

Hardwick owned in MHSLAW, the parent company. At that point in time, the law

firm could have operated smoothly and gone forward, were it not for Mr. Hardwick’s

abrupt ouster, the bad publicity incited by Fidelity and the subsequent

mismanagement and poor business decisions.

      Finally, the charges against Mr. Hardwick were that more money was

transferred to him or for his benefit than he was entitled to receive. The Government


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never established the amount Mr. Hardwick was entitled to get, although in the PSR,

the Probation Officer proposes that the correct number is $9 million, providing no

explanation. While the partners should have taken less than they did, and the jury

determined that a disproportionate amount of the excess was taken by Mr. Hardwick,

the evidence produced by the Government falls far short of showing

the intended loss was $22 million.

          b. The Criminal Conduct in This Case Did Not Involve Five or More
             Participants, Nor Was It Otherwise Extensive

      Mr. Hardwick was the majority partner at the MHS law firm. The scheme, as

alleged and convicted by the jury, was, essentially, that he emailed Ms. Maurya in

accounting and asked her to send money from the law firm accounts (predominately

the SunTrust 7328 account) either to him directly or to another entity for his benefit.

There were no other persons involved—only two people. The criminal activity was

not otherwise extensive; the criminal activity only involved Ms. Maurya making

payments to Mr. Hardwick or for his benefit.

      Some circuits have set forth tests or factors to consider in evaluating whether

criminal activity is otherwise extensive. The Second Circuit, Third Circuit and Sixth

Circuit focus on the size of the criminal organization—counting heads of everyone

involved, not just those defined as “participants” under the Guidelines. See United

States v. Anthony, 280 F.3d 694, 699 (6th Cir. 2002); United States v. Helbling, 209

F.3d 226 (3d Cir. 2000); United States v. Carrozzella, 105 F.3d 796, 802-03 (2d Cir.



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1997). Other circuits focus more broadly on the totality of the circumstances, not

just the number of participants and non-participants, but also the width, breadth,

scope, complexity, and duration of the scheme. See United States v. Colon-Munoz,

318 F.3d 348 (1st Cir. 2003). In a recent unpublished opinion, the Eleventh Circuit

stated that our circuit seems to follow the broader, totality-of-the-circumstances

approach of the First Circuit. United States v. Zada, 706 Fed. Appx. 500 (11th Cir.

2017) (citing United States v. Holland, 22 F.3d 1040, 1046 (11th Cir. 1994)).

      A consideration of the totality of the circumstances involved in this case

shows the criminal conduct was not otherwise extensive. The scheme as alleged and

proven was not at all complex and only involved two people. While Mr. Hardwick

acknowledges his role as the majority shareholder of the law firm, his role in this

offense should warrant a two-level enhancement and not a four-level enhancement.

         c. Mr. Hardwick’s Trial Testimony Did Not Obstruct Justice

      The application of an obstruction of justice enhancement for simply testifying

chills a defendant’s right to defend himself and testify in a criminal case. At trial,

Mr. Hardwick testified: he admitted that he made the requests to Ms. Maurya to

transfer money either to him or for his benefit; he admitted that the transfers were

actually made; and, he admitted that the transfers in the Indictment had nothing to do

with the firm.

      The only things that Mr. Hardwick denied were that he had direct knowledge

that Ms. Maurya had comingled client trust funds and law firm funds, and that he had


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the intent to defraud anyone. Mr. Hardwick’s testimony did not impede any jury

deliberation or any investigation. He only disputed his knowledge of and intent to

commit the criminal conduct. Section 3C1.1 of the Guidelines allows a 2-level

enhancement if the defendant “willfully obstructed or impeded, or attempted to

obstruct or impede, the administration of justice with respect to the investigation,

prosecution, or sentencing of the instant offense of conviction.” U.S.S.G. §3C1.1

Proof that a defendant committed perjury that “pertains to conduct that forms the

basis of the offense of conviction” justifies an enhancement for obstruction. See

id. cmt. n.4(b). The burden is on the Government to prove by a preponderance of the

evidence that the defendant has committed perjury. See United States v. Golden, 255

Fed. App’x 733, 736 (4th Cir. 2007).

      A defendant does not commit perjury simply because he testifies at trial and

then is convicted. Id.; see United States v. Dunnigan, 507 U.S. 87, 94 (1993) (“not

every accused who testifies at trial and is convicted will incur an enhanced sentence

under §3C1.1 for committing perjury”) United States v. Lester, 376 F. Supp. 2d 679,

683 (W.D. Va. 2005) (“While the jury obviously disbelieved the defendant, and I

believe that there was sufficient evidence for the jury to do so, I cannot make the

necessary   findings   myself    in    order   to   impose   an   enhancement     for

perjury.”); §3C1.1 cmt. n.2. (“In applying this provision in respect to alleged false

testimony or statements by the defendant, the court should be cognizant that

inaccurate testimony or statements sometimes may result from confusion, mistake or


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faulty memory and, thus, not all inaccurate testimony or statements necessarily reflect

a willful intent to obstruct justice.”). Rather, for the obstruction enhancement to

apply, the court must find that the defendant must give “false testimony under oath

‘concerning a material matter with the willful intent to provide false testimony, rather

than as a result of confusion, mistake, or faulty memory.’” Golden, 255 Fed. App’x

at 736 (quoting Dunnigan, 507 U.S. at 94). Put another way, perjury requires a

finding of intent to testify falsely, not just a finding that testimony was

inaccurate. See Lester, 376 F. Supp. 2d at 683-84.

      The PSR recommends the finding that Mr. Hardwick obstructed justice “by

testifying falsely at trial.” PSR ¶ 86. The PSR is silent, however, as to what testimony

was false and only notes that the jury simply “found the Defendant’s testimony not

credible.” “Not credible” testimony is not enough to apply the enhancement. Where

the Government cannot bear its burden of proving that Mr. Hardwick committed

perjury, the obstruction of justice enhancement is improper.

      II.    THE SUGGESTED GUIDELINE RANGE IS A STATISTICAL
               OUTLIER AND NOT AN APPROPRIATE SENTENCE

      This Court is familiar with the command of section 3553(a) that the Court shall

impose a sentence “sufficient, but not greater than necessary,” to achieve the goals of

sentencing. See 18 U.S.C. §3553(a); Kimbrough v. United States, 552 U.S. 85, 101

(2007). Mr. Hardwick respectfully contends that for the reasons reflected in the many

letters that will be provided to the Court and to be advanced at the sentencing hearing,



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this is a case in which a variance sentence below the advisory Guidelines range is

appropriate.

      Before turning to the specific factors under 18 U.S.C. §3553(a), Mr. Hardwick

suggests that the Court look at how the PSR’s recommended range stacks up against

several decades’ worth of experience in applying the Federal Sentencing Guidelines.

The U.S. Sentencing Commission keeps detailed figures on sentences, variances,

types of cases, the geographic region, and other factors that might or might not affect

how a sentence is imposed.

      The Sentencing Commission publishes its annual sourcebook. This

compendium of statistics shows figures by circuit and district, by primary offense

and offender characteristics, and reveals when and by how much federal judges go

outside the otherwise applicable Guideline range. The Commission’s website

contains these numbers going back to 1996. While the data and analysis has

somewhat deepened over the years, the bottom line numbers and trends have

remained remarkably consistent.

      One of the simplest ways to look at these cases is to review Table 6 for each

year’s figures. This Table outlines the mean and median sentence in 32 separate

primary offense categories. One category is fraud, which encompasses both the

present case and a wide variety of other conduct. Nevertheless, as a starting point it

is worth noting that the mean fraud sentence nationwide is 27 months while the

median            was             17            months            for            2018.


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https://www.ussc.gov/sites/default/files/pdf/research-and-publications/annual-

reports-and-sourcebooks/2018/Table6.pdf. The Court should note that this includes

all criminal history categories, and not just those with no prior record, like Mr.

Hardwick. While there has been a slight increase in nationwide fraud sentences since

1996, overall the numbers are remarkably consistent year after year.1 Another method

for analyzing federal criminal sentences is to look at the specific number of months

imposed by the judge in relation to the range suggested by the Guidelines themselves.

This information is found on a yearly basis in a series of tables discussing departures

and sentences within the Guideline range. On the broadest level, Table N of 2017

explains that 49.1% of all sentences fell inside the Guideline range, 2.9% were above,

and the remainder were all below the range otherwise recommended by the

commission.

https://www.ussc.gov/sites/default/files/pdf/research-and-publications/annual-

reports-and-sourcebooks/2017/TableN.pdf. This means that around one-half of all

criminal sentences are below the otherwise applicable Guideline range. Similar

figures      are       found       for       all        the   cases       from        the      11th




1
 A document called Figure E is also compiled each year, with a different statistical view for length
of imprisonment in each “general crime category”. In this view, the Commission lumps together
all economic offenses. The 2017 sourcebook looks back over the past 5 years, and shows amazing
regularity, the average sentence for economic offenses being either 33 or 34 months each
year. https://www.ussc.gov/sites/default/files/pdf/research-and-publications/annual-reports-and-
sourcebooks/2017/FigureE.pdf.

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Circuit. https://www.ussc.gov/sites/default/files/pdf/research-and-

publications/annual-reports-and-sourcebooks/2017/TableN-11.pdf.

       The Commission also keeps detailed figures on the reasons why sentences are

outside the Guideline range, and whether a downward variance is requested by the

prosecution or not. In 2017, Figure G shows that over the past 5 years approximately

1 out of every 5 sentences were below the guidelines for reasons other than a request

by     the    government. https://www.ussc.gov/sites/default/files/pdf/research-and-

publications/annual-reports-and-sourcebooks/2017/FigureG.pdf.This means that

20% of cases in 2013-2017 were below the Guideline range for reasons other than a

substantial assistance motion or other request by the government. The 2017 Table 27

contains information showing sentences relative to the Guideline range for each

primary offense category, and the reasons why the sentence was above or below the

range. Out of the almost 6,000 fraud cases from 2017, only 42.8% were within the

Guideline range, a few were above, and the majority were below the Guideline range.

However, out of all fraud cases, 25.5% were below the otherwise applicable range

based on Booker v. United States.

https://www.ussc.gov/sites/default/files/pdf/research-and-publications/annual-

reports-andsourcebooks/2017/Table27A.pdf. This means that more than one in four

fraud cases involved a judge who decided, without a request from the prosecution,

to sentence the defendant lower than the range suggested by the Commission’s

Guidelines.


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       The results are clear: most fraud offenders, even those in the most severe

Criminal History Category VI, get sentences below 5 years. Half of all federal

sentences are imposed below the range suggested by the Guidelines. One out of every

four fraud cases are sentenced below the Guideline range, based on the Court’s

determination that the factors from §3553(a) require such a result.

       Looking at the Sentencing Commission’s yearly analysis of general fraud

sentences from 2017, https://www.ussc.gov/sites/default/files/pdf/research-and-

publications/quick-facts/Theft_Property_Destruction_Fraud_FY17.pdf,                   over    the

preceding five years, the average fraud sentence ranged between 22 to 24 months.2

       The Court in United States v. Parris, 573 F. Supp. 2d 744 (E.D. N.Y. 2008),

an opinion issued in 2008, discovered the same basic fact pattern a decade ago.3 That

opinion contains a helpful compendium of fraud—specifically securities fraud with

high loss amounts—sentences over the preceding decade. Many offenders

responsible for losses in the billions of dollars and who did not cooperate with the

2
  Even looking at average sentences in securities fraud cases, where the median loss amount was
higher with $2.1 million, the average fraud sentence ranged between 49 and 77 months, and that
most of these were significantly below the otherwise applicable Guideline range.
https://www.ussc.gov/sites/default/files/pdf/research-and-publications/quick-
facts/Securities_Fraud_FY17.pdf
3
  Parris involved securities fraud case where the defendant was facing a Guideline range of 360
to life, largely due to a Guideline enhancement of 18 points for loss amount. The sentencing judge
noted that,
          I have sentenced Lennox and Lester Parris today to a term of incarceration of 60
          months in the face of an advisory guidelines range of 360 to life. This case
          represents another example where the guidelines in a securities-fraud
          prosecution “have so run amok that they are patently absurd on their face,” United
          States v. Adelson, 441 F. Supp. 2d 506, 515 (S.D.N.Y. 2006), due to the “kind of
          ‘piling-on’ of points for which the guidelines have frequently been
          criticized.” Id. at 510

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prosecution got sentences below the Guideline range that was suggested in the PSR

for Mr. Hardwick. Other non-cooperators whose losses more resembled the figures

in the present case got sentences ranging from 4 to 12 years. Id. at 753.

      The Government will almost certainly cite United States v. Stanley, 739 F. 3d

633 (11th Cir. 2014), a case from this district where the sentences of 276 months and

192 months, were upheld on appeal after the defendants went to trial. For starters,

each of those sentences was below the Guideline range for the defendant in question.

Furthermore, that offense involved approximately 6,000 investors whose losses

exceeded $42 million. In addition, one of the defendants was in Criminal History

Category III, both defendants engaged in a similar pump and dump scheme at another

company, and one defendant fled in the middle of trial. Stanley provides little

guidance for the present situation.

      Mr. Hardwick fully recognizes that each case is different, and each judicial

officer tries to impose the right sentence for the offender and the offense. This look

at statistics is merely designed to demonstrate that the range recommended in the

PSR is an outlier and, as Judge Block noted in Parris, is “patently absurd on its face.”

      III.   A REASONABLE SENTENCE UNDER THE §3553 FACTORS

      The Court well knows the various factors under §3553(a) that impact a

reasonable sentence. Mr. Hardwick will highlight some of those factors that can

impact his sentence.




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      a. Nature and Circumstances of the Offense

      This is a serious case. However, despite the seriousness of the offenses, the

Court should consider the Mr. Hardwick’s motivation. Unlike so many convicted of

fraud, Mr. Hardwick was trying to build a legitimate business. His intention, that was

uncontested at trial, was that he poured himself and his reputation into his law firm

24 hours a day and 7 days a week. He was dedicated to his clients and his firm.

Additionally, he intended to grow the firm and expand nationally.

      However, Mr. Hardwick certainly failed at managing his own expenses,

keeping up with his personal expenditure and distributions, and managing the firm

financially. And clearly, he also placed trust in the wrong controller, Ms. Maurya.

The jury decided that those failures included withdrawing millions from co-mingled

accounts for personal benefit that crossed the line between aggressive business

marketing practices and crime. Mr. Hardwick is not attempting to re-argue his case,

he merely points out that, unlike so many fraud defendants, he was trying to create

real businesses so that the lawyers, employees, and the business could prosper.

      b. Characteristics of the Defendant

      Certainly, the Court now has a somewhat better understanding of Mr.

Hardwick after hearing the story of his history at trial, reviewing the PSR, and

reviewing the many letters of support submitted on his behalf. Mr. Hardwick suggests

that the many people who have known him for most of his life understand that he is




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a man of good character and high moral standards who, according to the verdict, came

up short of those values when trying to support himself in a difficult economy.

      The PSR and letters show that Mr. Hardwick was raised in a solid household

with a wonderful family and supportive community. Family is clearly very important

to Mr. Hardwick, as he has remained close and cared for his aging parents, has a 4-

year-old daughter that he loves very much, and employed his sister at his firm. Mr.

Hardwick was the sole care-giver of both of his parents Indeed, of the numerous

letters provided to this Court through family and friends, Mr. Hardwick among many

wonderful characteristics, Mr. Hardwick is described as: “a hard worker,” “extremely

kind,” and “very generous to his time in working with charities.” Most telling is one

letter from Kristen Knodel, a high school friend of Mr. Hardwick’s, who gives one

of many examples of his generosity to others:

      When [my husband] had a mild heart attack in the summer of 2014, Nat
      got word of the personal deductible that we would need to pay for his
      heart catherization and he gave enough money to pay our major illness
      deductible in full! Some tears were shed that day as we opened his
      letter.

      Another aspect of Mr. Hardwick’s character was shown by how he has handled

himself since learning of the investigation into his business. He hired counsel and

worked diligently to save his firm by injecting his own funds into the firm, borrowing

money, properly notifying the State Bar of Georgia of any ethical matters, and,

ultimately, giving up his shares in MHS. Through all this, Mr. Hardwick maintained

a sense of dignity, even after the prosecution’s extraordinary decision to bring in a


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raid squad to arrest a man at his deposition with his attorneys, who had stayed in

contact with the Government over a several month period.

      Mr. Hardwick has no prior criminal record. He has been a productive person,

finished college, obtained his legal degree, and built several businesses. He intensely

loves his family, and an asset to his community before everything went so very

wrong. He has an abundant source of support in the community from his family, his

neighbors and his friends who stand by him and will assure that he lives a stable law-

abiding life. There is a future for Mr. Hardwick, and his character shows that the

Court should consider a sentence that imposes punishment, but not so much as to be

overly punitive.

      Finally, prior to trial, Mr. Hardwick 32 months in home confinement. For over

1 year, he was only allowed to leave his parents’ home for a few hours, 2 days per

week. The Court modified his conditions to allow him restricted travel outside of the

home for business or to help his parents. He did not have a single deviation or cause

any problems for his pre-trial services officer. In fact, just after his conviction, his

officer testified that he was “perfect.” Bureau of Prisons will not give Mr. Hardwick

a single day’s worth of credit for 32 months of home confinement with an ankle

monitor. For this reason alone, this Court should consider a downward variance.

      c. Unwarranted Sentencing Disparities

      Pursuant to 18 U.S.C. §3553(a)(6), “the need to avoid unwarranted sentencing

disparities” is a factor to be decided when imposing a reasonable sentence. A district


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court acts unreasonably when not considering this factor. United States v. Killen,

2018 WL 1560050, (11th Cir. Mar. 29, 2018) (reversing imposition of upward

variance for failing to consider other similar cases especially when the crime

encompasses a “wide range of conduct”). Further, a district court acts unreasonably

when imposing a sentence “seriously out of line with sentences imposed on other

defendants” for the same crime. United States v. Irey, 612 F. 3d 1160, 1220 (11th Cir.

2010 (en banc).

      No two cases and no two defendants are identical, however, comparisons are

often necessary in order to avoid unwarranted sentencing disparities. Mr. Hardwick

has already provided the Court with the figures from the Sentencing Commission.

Nationwide the sentences for fraud ranged from 22 months to 77 months over the

past five years. The majority of fraud sentences were below the advisory Guideline

range. More than one out of three fraud sentences resulted from a variance for reasons

other than a request from the government. https://www.ussc.gov/research/quick-

facts/securities-and-investment-fraud.

      Mr. Hardwick fully recognizes that statistics can only go so far when helping

a court avoid unwarranted sentencing disparities. However, the Sentencing

Commission is the greatest source of information when it comes to federal sentences.

The Commission’s data make clear that sentences for cases such as the present tend

to fall within 2 to 7 years in custody. The Appendix of specifically securities fraud

sentences involving high loss amounts for non-cooperators attached to the opinion


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in United States v. Parris reveal similar numbers. Mr. Hardwick strongly urges the

Court to consider similar factors considered by other judicial officers when imposing

sentences on similarly situated defendants.

                                IV.   CONCLUSION

      The mission of §3553(a) is to ensure that the sentence imposed is reasonable.

Further, a variance below the advisory Guidelines range is sufficient to achieve the

goals of sentencing. For a person with Mr. Hardwick’s background and for a person

who poses no risk to any person or to society, a sentence of 96 months is reasonable.

                                          Respectfully submitted,

                                          /s/ Edward T.M. Garland
                                          EDWARD T.M. GARLAND
                                          Georgia Bar No. 284900

                                          /s/ Robin N. Loeb
                                          ROBIN N. LOEB
                                          Georgia Bar No. 455702

                                          /s/ Kristen W. Novay
                                          KRISTEN W. NOVAY
                                          Georgia Bar No. 742762

                                          /s/ Mia Patrice Fulks
                                          MIA PATRICE FULKS
                                          Georgia Bar No. 279902

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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
      Plaintiff,                           )
                                           )     INDICTMENT NO.:
      v.                                   )
                                           )     1:16-cr-00065-ELR-CMS
NATHAN E. HARDWICK IV,                     )
                                           )
      Defendant.                           )

                          CERTIFICATE OF SERVICE

I hereby certify that I have this date served the within and foregoing DEFENDANT

HARDWICK’S SENTENCING MEMORANDUM with the Clerk of Court using

the CM/ECF system which will automatically send email notification of such filing

to the attorneys of record.

      This the 3rd day of January, 2019.

                                            /s/ Kristen W. Novay
                                            KRISTEN W. NOVAY
                                            Georgia Bar No. 742762




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